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             UNITED STATES COURT OF INTERNATIONAL TRADE


                                                   Before: Mark A. Barnett,
    IN RE SECTION 301 CASES                        Claire R. Kelly and
                                                   Jennifer Choe-Groves, Judges
                                                   Court No. 21-00052



                                         ORDER

         Upon consideration of Plaintiffs’ motions, Defendants’ response, Plaintiffs’

reply, and all other pertinent papers, it is

         ORDERED that Plaintiffs’ motion for leave to file a reply is granted; 1 and it

is further

         ORDERED that Plaintiffs’ Proposed Reply in Support of Plaintiffs’ Motion for

Preliminary Injunction Limited to Suspension of Liquidation, ECF No. 307-1, is

deemed filed as of May 20, 2021; and it is further

         ORDERED that Plaintiffs’ motion for a preliminary injunction is granted as

further provided for in this order; and it is further

         ORDERED that, within 7 calendar days from the date of this order,

Defendants shall meet and confer with the Steering Committee, on behalf of

Plaintiffs, regarding the establishment of a repository by Defendants for Plaintiffs to

identify, as further provided for in this order, any unliquidated entries of

merchandise imported from the People’s Republic of China by Plaintiffs HMTX

Industries LLC, Halstead New England Corporation, Metroflor Corporation, and


1   Chief Judge Barnett concurs in granting Plaintiffs’ motion to file a reply.
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Jasco Products Company LLC, and plaintiffs whose actions have been stayed

pursuant to In re Section 301 Cases, Court No. 21-00052, that are subject to duties

imposed pursuant to either Notice of Modification of Section 301 Action: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018) (List 3), or Notice of Modification of

Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019)

(List 4A) (“Subject Entries” or “Subject Entry”); and it is further

      ORDERED that, within 14 calendar days from the date of this order,

Defendants shall establish a repository in which Plaintiffs may identify any Subject

Entry, as further provided for in this order; and it is further

      ORDERED that any Plaintiff requesting suspension of liquidation for a

Subject Entry shall provide Defendants with

      (i)     Its full and correct Importer of Record (IOR) number(s), including
              suffix(es); and

      (ii)    The Court Number and filing date of the litigation in which it is a party,
              as well as its Center and team assignment, if known; and

      (iii)   The Entry Number and date of entry for each Subject Entry for which
              liquidation is to be enjoined in accordance with this order; and it is
              further

      ORDERED that Defendants, together with their delegates, officers, agents,

and servants, including employees of U.S. Customs and Border Protection, are

enjoined during the pendency of this litigation, including any appeals, from

liquidating any Subject Entry for which they receive a request for suspension of
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liquidation pursuant to this order, unless, within 14 calendar days from the date

Defendants receive a request for suspension of liquidation of a Subject Entry,

Defendants, at their option, stipulate to refund any duties found to have been illegally

collected for that specific Subject Entry and notify Plaintiffs of such stipulation

promptly in a manner to be determined by the parties; and it is further

      ORDERED that having had notice and a hearing on Plaintiffs’ motion for a

preliminary injunction, Defendants, together with their delegates, officers, agents,

and servants, including employees of U.S. Customs and Border Protection, are

temporarily restrained from the date of this order until 28 calendar days following

the date of this order from liquidating any Subject Entry; and it is further

      ORDERED that should any Subject Entry be inadvertently or mistakenly

liquidated during the 28-day temporary restraint period despite this order, said

Subject Entry shall be promptly returned to unliquidated status and subject to the

terms of this order; and it is further

      ORDERED that any Subject Entry for which liquidation is suspended under

this order shall be liquidated in accordance with the final court decision in this action,

including all appeals and remand proceedings; and it is further

      ORDERED that any Subject Entry inadvertently liquidated by U.S. Customs

and Border Protection in contravention of this order shall be promptly returned to

unliquidated status and subject to the terms of this injunction; and it is further
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      ORDERED that the Parties shall appear before the court virtually at a Status

Conference on July 13, at 2:30.


                                                   /s/ Claire R. Kelly
                                                  Claire R. Kelly, Judge


                                                  /s/ Jennifer Choe-Groves
                                                  Jennifer Choe-Groves, Judge

Dated:       Tuesday, July 6, 2021
             New York, New York
